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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

 

SCOTT WYNN, an individual,
Plaintiff,

V.

THOMAS J. VILSACK, in his official

capacity as Secretary of Agriculture,

et al.,

Defendants.

 

 

No. 3:21—cv—005 14-MMH—~JRK

STIPULATED PROTECTIVE ORDER AND 502(d) ORDER

1. PURPOSES AND LIMITATIONS

Disclosure and discovery activity in this action are likely to involve production of

confidential, proprietary, or private information for which special protection from public

disclosure and from use for any purpose other than prosecuting this litigation may be

warranted. Accordingly, the parties hereby stipulate to and petition the court to enter the

following Stipulated Protective Order. The parties acknowledge that this Order does not

confer blanket protections on all disclosures or responses to discovery and that the

protection it affords from public disclosure and use extends only to the limited

information or items that are entitled to protected treatment under the applicable legal

principles. The parties further acknowledge, as set forth in Section 12.3, below, that this

Stipulated Protective Order does not entitle them to file protected information under seal;
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Civil Local Rule 1.11 sets forth the procedures that must be followed and the standards
that will be applied when a party seeks permission from the court to file material under
seal.

2. DEFINITIONS

2.1 Challenging Party: a Party or Non-Party that challenges the designation of
information or items under this Order.

2.2 Counsel (without qualifier): Outside Counsel of Record and House
Counsel (as well as their support staff).

2.3 Designating Party: a Party or Non-Party that designates information or
items that it produces in disclosures or in responses to discovery as “PROTECTED.”

2.4 Disclosure or Discovery Material: all items or information, regardless of
the medium or manner in which it is generated, stored, or maintained (including, among
other things, testimony, transcripts, and tangible things), that are produced or generated in
disclosures or responses to discovery in this matter.

2.5 Expert: a person with specialized knowledge or experience in a matter
pertinent to the litigation who has been retained by a Party or its counsel to serve as an
expert witness or as a consultant in this action.

2.6 House Counsel: attorneys who are employees of a party of this action (e.g.,
attorney-employees of the U.S. Department of Agriculture). House Counsel does not
include Outside Counsel of Record or any other outside counsel.

2.7 Non-Party: any natural person, partnership, corporation, association, or

other legal entity not named as a Party to this action.

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2.8 Outside Counsel of Record: attorneys who are not employees of a party to
this action but are retained to represent or advise a party to this action and have appeared
in this action on behalf of that party or are affiliated with a law firm or government
agency which has appeared on behalf of that party, (e.g., attorneys at the Department of
Justice or at the Pacific Legal Foundation).

2.9 Party: any party to this action, including all of its officers, directors,
employees, consultants, retained experts, and Outside Counsel of Record (and their
support staffs).

2.10 Producing Party: a Party or Non-Party that produces Disclosure or
Discovery Material in this action.

2.11 Professional Vendors: persons or entities that provide litigation support
services (e.g., photocopying, videotaping, translating, preparing exhibits or
demonstrations, and organizing, storing, or retrieving data in any form or medium) and
their employees and subcontractors.

2.12 Protected Material: any Disclosure or Discovery Material that is designated
as “PROTECTED”: information (regardless of how it is generated, stored or maintained)
or tangible things that qualify for protection under Federal Rule of Civil Procedure 26(c),
including, but not limited to:

(a) personal information covered by the Privacy Act, 5 U.S.C. § 552a, information
covered by 7 ULS.C. § 8791, and information covered by Federal Rule of Civil Procedure
ud;
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(b) an individual’s birth date, social security number, alien registration number
(“A number”), and any similar numbers assigned to an individual by a federal/national,
state, or local government of the United States or any other country if not subject to
privilege or other restrictions prohibiting disclosure even under protective order;

(c) names, locations of, and any identifying information which would allow the
identification of the particular individual(s) to whom the information relates, or testimony
on the record, of individuals not related to this litigation;

(d) information which a party in good faith believes may link an individual’s
identity to specific demographic or other personal information,

(ce) extremely sensitive documents, information, and discovery responses,
disclosure of which to another party or non-party would create a substantial risk of
serious harm that could not be avoided by less restrictive means, including information
which, if disclosed, could result in a party or material witness deciding not to testify out
of fear of adverse criminal or personal consequences;

(f) documents, information, and discovery responses which the Court has ordered
produced under this designation;

(g) email addresses, mailing addresses, and phone numbers of all federal
employees;

| (h) information that, if specifically sought by a discovery request, would be
improper Federal Rule of Civil Procedure 26(g)\(1(B)Gi) as being “interposed for an[]
improper purpose, such as to harass,” or, if included in a pleading, would be improper

under Federal Rule of Civil Procedure 12(f) as being “impertinent[] or scandalous”; and

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2.13 Receiving Party: a Party that receives Disclosure or Discovery Material
from a Producing Party.

3. SCOPE

The protections conferred by this Stipulation and Order cover not only Protected
Material (as defined above), but also (1) any information copied or extracted from
Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
Material; and (3) any testimony, conversations, or presentations by Parties or their
Counsel that might reveal Protected Material. However, the protections conferred by this
Stipulation and Order do not cover the following information: (a) any information that is
in the public domain at the time of disclosure to a Receiving Party or becomes part of the
public domain after its disclosure to a Receiving Party as a result of publication not
involving a violation of this Order, including becoming part of the public record through
trial or otherwise; and (b) any information known to the Receiving Party prior to the
disclosure or obtained by the Receiving Party after the disclosure from a source who
obtained the information lawfully and under no obligation of confidentiality to the
Designating Party. Any use of Protected Material at trial shall be further governed by a
separate agreement or order.

4, DURATION

Even after final disposition of this litigation, the confidentiality obligations
imposed by this Order shall remain in effect until a Designating Party agrees otherwise in
writing or a court order otherwise directs. Final disposition shall be deemed to be the later

of (1) dismissal of all claims and defenses in this action, with or without prejudice; and

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(2) final judgment herein after the completion and exhaustion of all appeals, rehearings,
remands, trials, or reviews of this action, including the time limits for filing any motions
or applications for extension of time pursuant to applicable law.

5. DESIGNATING PROTECTED MATERIAL

5.1 Exercise of Restraint and Care in Designating Material for Protection. Each
Party or Non-Party that designates information or items for protection under this Order
must take care to limit any such designation to specific material that qualifies under the
appropriate standards. The Designating Party must designate for protection only those
parts of material, documents, items, or oral or written communications that qualify — so
that other portions of the material, documents, items, or communications for which
protection is not warranted are not swept unjustifiably within the ambit of this Order. For
example, the designating party shall designate solely the page of a document or transcript
on which the protected material appears.

Mass, indiscriminate, or routinized designations are prohibited, as are designations
that appear only for the purpose of delaying proceedings.

If it comes to a Designating Party’s attention that information or items that it
designated for protection do not qualify for protection, that Designating Party must
promptly notify all other Parties that it is withdrawing the mistaken designation.

5.2. Manner and Timing of Designations. Except as otherwise provided in this
Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
ordered, Disclosure or Discovery Material that qualifies for protection under this Order

must be clearly so designated before the material is disclosed or produced.

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Designation in conformity with this Order requires:

(a) for information in documentary form (e.g., paper or electronic documents, but
excluding transcripts of depositions or other pretrial or trial proceedings), that the
Producing Party affix the legend “PROTECTED” to each page that contains protected
material.

A Party or Non-Party that makes original documents or materials available for
inspection need not designate them for protection until after the inspecting Party has
indicated which material it would like copied and produced. During the inspection and
before the designation, all of the material made available for inspection shall be deemed
“PROTECTED.” After the inspecting Party has identified the documents it wants copied
and produced, the Producing Party must determine which documents, or portions thereof,
qualify for protection under this Order. Then, before producing the specified documents,
the Producing Party must affix the “PROTECTED” legend to each page that contains
Protected Material.

(b) for testimony given in deposition or in other pretrial or trial proceedings, that
the Designating Party designate the transcript in whole or in part by so stating on the
record or in writing within 10 business days from the date the Designating Party receives
the transcript. Whenever a Party expects to designate deposition testimony as Protected
Information, the Party will have the right to exclude from attendance at the deposition
every person except the deponent, the stenographer, the videographer, and those

individuals authorized to receive the Protected Information.
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(c) for information produced in some form other than documentary and for any
other tangible items, that the Producing Party affix in a prominent place on the exterior of
the container or containers in which the information or item is stored the legend
“PROTECTED.” If only a portion or portions of the information or item warrant
protection, the Producing Party, to the extent practicable, shall identify the protected
portion(s).

5.3. Inadvertent Failures to Designate. If timely corrected, an inadvertent
failure to designate qualified information or items does not, standing alone, waive the
Designating Party’s right to secure protection under this Order for such material. Upon
timely correction of a designation, the Receiving Party must make reasonable efforts to
assure that the material is treated in accordance with the provisions of this Order.

6. CHALLENGING PROTECTED DESIGNATIONS

6.1 ‘Timing of Challenges. Any Party or Non-Party may challenge a
designation of protected at any time. Unless a prompt challenge to a Designating Party’s
protected designation is necessary to avoid foreseeable, substantial unfairness,
unnecessary economic burdens, or a significant disruption or delay of the litigation, a
Party does not waive its right to challenge a protected designation by electing not to
mount a challenge promptly after the original designation is disclosed.

6.2 Meet and Confer. The Challenging Party shall initiate the dispute
resolution process by providing written notice of each designation it is challenging and
describing the basis for each challenge. To avoid ambiguity as to whether a challenge has

been made, the written notice must recite that the challenge to a protected designation is

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being made in accordance with this specific paragraph of the Protective Order. The
parties shall attempt to resolve each challenge in good faith and must begin the process
by conferring directly (in voice to voice dialogue; other forms of communication are not
sufficient) within 14 days of the date of service of notice. In conferring, the Challenging
Party must explain the basis for its belief that the protected designation was not proper
and must give the Designating Party an opportunity to review the designated material, to
reconsider the circumstances, and, if no change in designation is offered, to explain the
basis for the chosen designation. A Challenging Party may proceed to the next stage of
the challenge process only if it has engaged in this meet and confer process first or
establishes that the Designating Party is unwilling to participate in the meet and confer
process in a timely manner.

6.3 Judicial Intervention. If the Parties cannot resolve a challenge without court
intervention, the Challenging Party shall file and serve a motion to remove the protected
designation under Civil Local Rule 7 (and in compliance with Civil Local Rule 1.11, if
applicable). Each such motion must be accompanied by a competent statement affirming
that the movant has complied with the meet and confer requirements imposed in the
preceding paragraph.

All parties shall continue to afford the material in question the level of protection
to which it is entitled under the Producing Party’s designation until the court rules on the

challenge.
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7. ACCESS TO AND USE OF PROTECTED MATERIAL

7.1 Basic Principles. A Receiving Party may use Protected Material that is
disclosed or produced by another Party or by a Non-Party in connection with this case
only for the preparation for, conduct of, and trial of this litigation. No one subject to this
Protective Order shall use (or provide to others that use) information deemed
PROTECTED to retaliate against, intimidate, or discriminate against an individual in any
manner, or to harass any other party or witness, relatives of any other party or witness,
including domestic partners of a party or witness, or any individuals associated with the
parties in any way. Such Protected Material may be disclosed only to the categories of
persons and under the conditions described in this Order. Nothing in this Protective Order
shall limit or in any way restrict a Party’s use of information lawfully obtained through a
source other than through discovery production. When the litigation has been terminated,
a Receiving Party must comply with the provisions of section 13 below (FINAL
DISPOSITION).

7.2 Disclosure of “PROTECTED” Information or Items. Unless otherwise
ordered by the court or permitted in writing by the Designating Party, a Receiving Party
may disclose any information or item designated “PROTECTED” only to:

(a) the Receiving Party’s Outside Counsel of Record in this action, as well as
employees of said Outside Counsel of Record to whom it is reasonably necessary to
disclose the information for this litigation and who have signed the “Acknowledgment

and Agreement to Be Bound” that is attached hereto as Exhibit A;

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(b) the officers, directors, and employees (including House Counsel) of the
Receiving Party to whom disclosure is reasonably necessary for this litigation and who
have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

(c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
reasonably necessary for this litigation and who have signed the “Acknowledgment and —
Agreement to Be Bound” (Exhibit A);

(d) the court and its personnel;

(e) court reporters and their staff, professional jury or trial consultants, mock
jurors, and Professional Vendors to whom disclosure is reasonably necessary for this
litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
(Exhibit A);

(f) during their depositions, witnesses in the action to whom disclosure is
reasonably necessary and who have signed the “Acknowledgment and Agreement to Be
Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the
court. Pages of transcribed deposition testimony or exhibits to depositions that reveal
Protected Material must be separately bound by the court reporter and may not be
disclosed to anyone except as permitted under this Stipulated Protective Order.

(g) the author or recipient of a document containing the information or a
custodian or other person who otherwise possessed or knew the information.

8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED

IN OTHER LITIGATION

 

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Ifa Party is served with a subpoena or a court order issued in other litigation that
compels disclosure of any information or items designated in this action as
“PROTECTED,” that Party must:

(a) promptly notify in writing the Designating Party. Such notification shall
include a copy of the subpoena or court order;

(b) promptly notify in writing the party who caused the subpoena or order to issue
in the other litigation that some or all of the material covered by the subpoena or order is
subject to this Protective Order. Such notification shall include a copy of this Stipulated
Protective Order; and

(c) cooperate with respect to all reasonable procedures sought to be pursued by
the Designating Party whose Protected Material may be affected.

If the Designating Party timely seeks a protective order, the Party served with the
subpoena or court order shall not produce any information designated in this action as
“PROTECTED” before a determination by the court from which the subpoena or order
issued, unless the Party has obtained the Designating Party’s permission. The
Designating Party shall bear the burden and expense of seeking protection in that court of
its protected material — and nothing in these provisions should be construed as
authorizing or encouraging a Receiving Party in this action to disobey a lawful directive
from another court.

9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

PRODUCED IN THIS LITIGATION

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(a) The terms of this Order are applicable to information produced by a Non-Party
in this action and designated as “PROTECTED.” Such information produced by Non-
Parties in connection with this litigation is protected by the remedies and relief provided
by this Order. Nothing in these provisions should be construed as prohibiting a Non-Party
from seeking additional protections.

(b) In the event that a Party is required, by a valid discovery request, to produce a
Non-Party’s protected information in its possession, and the Party is subject to an
agreement with the Non-Party not to produce the Non-Party’s protected information, then
the Party shall:

(1) promptly notify in writing the Requesting Party and the Non-Party that
some or all of the information requested is subject to a confidentiality agreement
with a Non-Party;

(2) promptly provide the Non-Party with a copy of the Stipulated
Protective Order in this litigation, the relevant discovery request(s), and a
reasonably specific description of the information requested; and

(3) make the information requested available for inspection by the Non-
Party.

(c) Ifthe Non-Party fails to object or seek a protective order from this court
within 14 days of receiving the notice and accompanying information, the Receiving
Party may produce the Non-Party’s protected information responsive to the discovery
request. If the Non-Party timely seeks a protective order, the Receiving Party shall not

produce any information in its possession or control that is subject to the confidentiality

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agreement with the Non-Party before a determination by the court. Absent a court order
to the contrary, the Non-Party shall bear the burden and expense of seeking protection in
this court of its Protected Material.

10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
Protected Material to any person or in any circumstance not authorized under this
Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
all unauthorized copies of the Protected Material, (c) inform the person or persons to
whom unauthorized disclosures were made of all the terms of this Order, and (d) request
such person or persons to execute the “Acknowledgment and Agreement to Be Bound”
that is attached hereto as Exhibit A.

ll. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHER WISE

 

PROTECTED MATERIAL

(a) This Protective Order does not give any party the right to any privileged
information. The production of a document, or part of a document, shall not constitute a
waiver of any privilege or protection as to any portion of that document, or as to any
undisclosed privileged or protected communications or information concerning the same
subject matter, in this or in any other proceeding. This Order applies to the attorney-client

privilege, work-product protections, and all other protections afforded by Eederal Rule of

Civil Procedure 26(b) and governmental privileges.

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(b) The procedures applicable to a claim of privilege with respect to a produced
document and the resolution thereof shall be as follows:

(1) Ifa Party discovers a document, or part thereof, produced by another
party that is privileged or otherwise protected, the Receiving Party shall promptly
notify the Producing Party and then return the document or destroy it and certify
that it has been destroyed to the Producing Party. Nothing in this Order is intended
to shift the burden to identify privileged and protected documents from the
Producing Party to the Receiving Party.

(2) If the Producing Party determines that a document produced, or part
thereof, is subject to a privilege or privileges, the Producing Party shall promptly
give the Receiving Party notice of the claim of privilege (“privilege notice”).

(3) The privilege notice must contain information sufficient to identify the
document including, if applicable, a Bates number as well as an identification of
the privilege asserted and its basis.

(4) Upon receiving the privilege notice, if the Receiving Party agrees with
the privilege assertion made, the Receiving Party must promptly return the
specified document(s) and any copies or destroy the document(s) and copies and
certify to the Producing Party that the document(s) and copies have been
destroyed. The Receiving Party must sequester and destroy any notes taken about
the document. If a Receiving Party disclosed the document or information

specified in the notice before receiving the notice, it must take reasonable steps to

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retrieve it, and so notify the Producing Party of the disclosure and its efforts to
retrieve the document or information.

(5) Upon receiving the privilege notice, if the Receiving Party wishes to
dispute a Producing Party’s privilege notice, the Receiving Party shall promptly
meet and confer with the Producing Party. The document(s) shall be sequestered—
and if applicable securely stored —-and not be used by the Receiving Party in the
litigation (e.g., filed as an exhibit to a pleading or used in deposition) while the
dispute is pending. If the parties are unable to come to an agreement about the
privilege assertions made in the privilege notice, the Receiving Party may make a
sealed motion for a judicial determination of the privilege claim.

(6) Pending resolution of the judicial determination, the parties shall both
preserve and refrain from using the challenged information for any purpose and
shall not disclose it to any person other than those required by law to be served
with a copy of the sealed motion. The Receiving Party’s motion challenging the
assertion must not publicly disclose the information claimed to be privileged. Any
further briefing by any party shall also not publicly disclose the information
claimed to be privileged if the privilege claim remains unresolved or is resolved in
the Producing Party’s favor.

(7) If a document must be returned or destroyed as determined by the
process above, that document, along with copies and notes about the document,
that exist on back-up tapes, systems, or similar storage need not be immediately

deleted or destroyed, and, instead, such materials shall be overwritten and

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destroyed in the normal course of business. Until they are overwritten in the

normal course of business, the Receiving Party will take reasonable steps to limit

access, if any, to the persons necessary to conduct routine IT and cybersecurity
functions. |

12. MISCELLANEOUS

12.1 Right to Further Relief. Nothing in this Order abridges the right of any
person to seek its modification by the court in the future.

12.2 Right to Assert Other Objections. By stipulating to the entry of this
Protective Order no Party waives any right it otherwise would have to object to disclosing
or producing any information or item on any ground not addressed in this Stipulated
Protective Order. Similarly, no Party waives any right to object on any ground to use in
evidence of any of the material covered by this Protective Order.

12.3 Filing Protected Material. Without written permission from the Designating
Party or a court order secured after appropriate notice to all interested persons, a Party
may not file in the public record in this action any Protected Material. A Party that seeks
to file under seal any Protected Material must comply with Civil Local Rule 1.11.
Protected Material may only be filed under seal pursuant to a court order authorizing the
sealing of the specific Protected Material at issue. Pursuant to Civil Local Rule 1.11, a
sealing order will issue only upon a request establishing that the Protected Material at
issue warrants filing under seal. If a Receiving Party’s request to file Protected Material

under seal pursuant to Civil Local Rule 1.11 is denied by the court, then the Receiving

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Party may not file the information in the public record pursuant to Civil Local Rule 1.11
unless otherwise instructed by the court.

13. FINAL DISPOSITION

Within 60 days after the final disposition of this action, as defined in paragraph 4,
each Receiving Party must return all Protected Material to the Producing Party or destroy
such material. As used in this subdivision, “all Protected Material” includes all copies,
abstracts, compilations, summaries, and any other format reproducing or capturing any of
the Protected Material. Whether the Protected Material is returned or destroyed, the
Receiving Party must submit a written certification to the Producing Party (and, if not the
same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
(by category, where appropriate) all the Protected Material that was returned or destroyed
and (2) affirms that the Receiving Party has not retained any copies, abstracts,
compilations, summaries or any other format reproducing or capturing any of the
Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
work product, and consultant and expert work product, even if such materials contain
Protected Material. Any such archival copies that contain or constitute Protected Material
remain subject to this Protective Order as set forth in Section 4 (DURATION).

ITIS SO STIPULATED, THROUGH COUNSEL OF RECORD.

DATED: October 21, 2021.

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DATED: October 21, 2021,

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Attorneys for Defendants

PURSUANT TO STIPULATION, IT IS SQORDERED.

DATED: _I1- 3-021 Gre, K KS

JAMES R. KLINDT
njted States Magistrate Judge

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EXHIBIT A
ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
I, [print or type full name], of

[print or type full address], declare under penalty

 

of perjury that I have read in its entirety and understand the Stipulated Protective Order that was
issued by the United States District Court for the Middle District of Florida in the case of Wynn
v. Vilsack (3:21—cv—005 14-MMH-—JRK). I agree to comply with and to be bound by all the terms
of this Stipulated Protective Order and J understand and acknowledge that failure to so comply
could expose me to relief the court determines appropriate. I solemnly promise that I will not
disclose in any manner any information or item that is subject to this Stipulated Protective Order
to any person or entity except in strict compliance with the provisions of this Order.

I further agree to submit to the jurisdiction of the United States District Court for the
Middle District of Florida for the purpose of enforcing the terms of this Stipulated Protective
Order, even if such enforcement proceedings occur after termination of this action.

I hereby appoint [print or type full name] of

[print or type full address and telephone

 

number] as my agent for service of process in connection with this action or any proceedings

related to enforcement of this Stipulated Protective Order.

Date:

 

City and State where sworn and signed:

 

Printed name:

 

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Signature:

 

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